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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                  Case No.: 9:16-cv-81798-DMM

                                                   x
  TTT Foods Holding Company LLC,                   :
  a Florida limited liability company,             :
                                                   :
         Plaintiff,                                :
                                                   :
  v.                                               :
                                                   :
  BEATRICE NAMM, an individual,                    :
  JONATHAN NAMM, an individual, and                :
  DELUXE GOURMET SPECIALTIES LLC, a                :
  New Jersey limited liability company,            :
                                                   :
         Defendants.                               :
                                                   x

         MOTION TO STRIKE SECOND AMENDED AFFIRMATIVE DEFENSES
                AND INCORPORATED MEMORANDUM OF LAW

         Plaintiff, TTT Foods Holding Company LLC (“TTT Foods”), pursuant to Rule 12(f) of

  the Federal Rules of Civil Procedure, hereby files this Motion to Strike Second Amended

  Affirmative Defenses and Incorporated Memorandum of Law (the “Motion”), which requests that

  the Court strike an affirmative defense raised by Defendants, Beatrice Namm (“Mrs. Namm”),

  Jonathan Namm (“Mr. Namm”) (together, the “Namms”) and Deluxe Gourmet Specialties LLC

  (“Deluxe”) (collectively, the “Defendants”) in their Second Amended Answer, Affirmative

  Defenses [ECF No. 50] filed on February 20, 2017, and in support thereof states as follows:

                                   FACTUAL BACKGROUND

         1.      TTT Foods filed the Amended Complaint on November 2, 2016 (the

  “Complaint”) [ECF No. 8].




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         2.      TTT Foods has alleged in the Complaint that Mrs. Namm caused Brooklyn’s Best

  LLC (“Brooklyn’s Best”), a company that owes more than $176,001.76 to TTT Foods, to

  fraudulently transfer more than $99,000 to or for the benefit of the Namms for insufficient

  consideration. TTT Foods has also alleged that Mrs. Namm breached her fiduciary duties, and

  that Deluxe and Mrs. Namm should be held liable for Brooklyn’s Best’s indebtedness to TTT

  Foods under theories of alter ego, piercing the corporate veil and successor liability.

         3.      On January 3, 2017, TTT Foods filed a Motion to Strike Amended Affirmative

  Defenses and Incorporated Memorandum of Law (the “Prior Motion”) [ECF No. 36], which

  sought to strike inter alia the Fifteenth Affirmative Defense raised in the Defendants’ Amended

  Answer, Affirmative Defenses (the “Amended Answer”) [ECF No. 29] because it contained only

  bare bone conclusory allegations. The Prior Answer stated:

         15th Affirmative Defense: Plaintiff has failed to joint [sic] a non-diverse
         indispensable required party, to wit: Bea’s Brooklyn’s Best LLC. In the Amended
         Complaint, Plaintiff claims: that Bea’s Brooklyn’s Best LLC made certain
         transfers that were fraudulent (i.e., Counts I-IV); that Bea’s Brooklyn’s Best LLC
         owed Plaintiff certain fiduciary duties and that those duties were breached by
         Defendant BEATRICE NAMM in her corporate capacity as manager Bea’s
         Brooklyn’s Best LLC (i.e., Count V); and that Defendant BEATRICE NAMM is
         either the alter ego of Bea’s Brooklyn’s Best LLC or that the corporate veil of
         Bea’s Brooklyn’s Best LLC should be pierced (i.e., Count VII). Bea’s Brooklyn’s
         Best LLC is a required and indispensable party to this action and this Court
         should dismiss this action.

  Am. Answer ¶ 27.

         4.      On January 31, 2017, the Court entered an Order Granting in Part and Denying

  in Part Plaintiff’s Motion to Strike (the “Order”) [ECF No. 47] that ruled that Defendants’ 15th

  affirmative defense is stricken with leave to amend.    Order 5. The Order specifically states that

  “[t]he Court finds that Defendants’ allegations are insufficient to give Plaintiff notice of the basis

  on which Brooklyn’s Best is an indispensable party.” Order 4-5.




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         5.      On February 10, 2017, the Defendants filed their Second Amended Answer,

  Affirmative Defenses (the “Second Amended Answer”) [ECF No. 50], which provides the exact

  same deficient allegations with respect to their 15th Affirmative Defense. No amendments were

  made. Specifically, the Second Amended Answer states:

         Plaintiff has failed to joint [sic] a non-diverse indispensable required party, to wit:
         Bea’s Brooklyn’s Best LLC. In the Amended Complaint, Plaintiff claims: that
         Bea’s Brooklyn’s Best LLC made certain transfers that were fraudulent (i.e.,
         Counts I-IV); that Bea’s Brooklyn’s Best LLC owed Plaintiff certain fiduciary
         duties and that those duties were breached by Defendant BEATRICE NAMM in
         her corporate capacity as manager Bea’s Brooklyn’s Best LLC (i.e., Count V);
         and that Defendant BEATRICE NAMM is either the alter ego of Bea’s
         Brooklyn’s Best LLC or that the corporate veil of Bea’s Brooklyn’s Best LLC
         should be pierced (i.e., Count VII). Bea’s Brooklyn’s Best LLC is a required and
         indispensable party to this action and this Court should dismiss this action.

  Second Am. Answer ¶ 27.

         6.      Because the Defendants failed to raise any additional allegations with respect to

  their Fifteenth Affirmative Defense of failure to join an indispensable party, despite being

  granted leave of court to amend, the Court should strike such affirmative defense with prejudice.

                                            ARGUMENT

         7.      “The Court has broad discretion in considering a motion to strike under

  Fed.R.Civ.P. 12(f).” Morrison v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d 1314, 1317–

  18 (S.D. Fla. 2005) (citation omitted). Rule 12(f) of the Federal Rules of Civil Procedure states

  in part that “[t]he court may strike from a pleading an insufficient defense or any redundant,

  immaterial, impertinent, or scandalous matter.” Fed. R. Civ. P. 12(f). “Where the affirmative

  defenses are no more than bare bones conclusory allegations, they must be stricken.” Morrison

  v. Exec. Aircraft Refinishing, Inc., 434 F. Supp. 2d at 1318 (internal quotations omitted).

  Further, the Court has already ruled that the Fifteenth Affirmative Defense is “insufficient to

  give Plaintiff notice of the basis on which Brooklyn’s Best is an indispensable party.” Order 4-5.


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         8.      The Fifteenth Affirmative Defense is the same as previously asserted by the

  Defendants, and it contains only bare bones conclusory allegations. The Fifteenth Affirmative

  Defense alleges that “Bea’s Brooklyn’s Best LLC is a required and indispensable party to this

  action and this Court should dismiss this action.” Second Am. Answer ¶ 27. The Defendants

  continue to fail to allege any fact to support its argument that Brooklyn’s Best is a required and

  indispensable party under Rule 19 of the Federal Rules of Civil Procedure. See Molinos Valle

  Del Cibao, C. por A. v. Lama, 633 F.3d 1330, 1347 (11th Cir. 2011) (“As the party invoking

  Rule 19, it is his burden to demonstrate which Rule 19(b) factors required dismissal ‘in equity

  and good conscience.’”).

         9.      “A party is not necessary simply because joinder would be convenient, or because

  two claims share common facts.” Raimbeault v. Accurate Mach. & Tool, LLC, 302 F.R.D. 675,

  682 (S.D. Fla. 2014). “Rather, an absent party is considered necessary (i) if, in its absence, the

  court cannot accord complete relief among the existing parties to the action; (ii) if the nonparty’s

  absence would have a prejudicial effect on that party’s ability to protect its interest relating to the

  subject of the action; or (iii) if, due to the absent party’s related interest, the nonparty’s absence

  would leave the existing parties at a substantial risk of incurring inconsistent obligations upon

  the court’s disposition of the current action.” Id. at 682 (citing Fed.R.Civ.P. 19(a)(1)). The

  Defendants fail to articulate any reason why the Court might not be able to accord complete

  relief among the existing parties if Brooklyn’s Best is not joined.1 The Defendants fail to state

  any interest of Brooklyn’s Best relating to the subject of the action that could be prejudiced by its


  1
    It should further be noted that in prior litigation, then counsel for Brooklyn’s Best, who is
  current counsel of record in this case for the Defendants, took the position that there was no
  representative who could respond to discovery issued to Brooklyn’s Best because Mrs. Namm
  had resigned from her position as manager of Brooklyn’s Best and relinquished her membership
  interest in Brooklyn’s Best, and said counsel had resigned as the registered agent for Brooklyn’s
  Best.

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  absence. Nor have the Defendants set forth any reason as to how Brooklyn’s Best’s absence

  could leave the existing parties at a substantial risk of incurring inconsistent obligations.

           10.    Instead, the Defendants merely attempt to describe how Brooklyn’s Best is

  involved in the facts surrounding the claims by stating that some of the transfers at issue came

  from Brooklyn’s Best, and that TTT Foods has alleged that Mrs. Namm breached her fiduciary

  duty to Brooklyn’s Best, Mrs. Namm is an alter ego of Brooklyn’s Best and Brooklyn’s Best’s

  corporate veil should be pierced. Second Am. Answer ¶ 27. None of these statements are

  relevant to whether Brooklyn’s Best is a necessary or indispensable party. TTT Foods has not

  asserted any claims against Brooklyn’s Best with respect to such transfers, and is not seeking

  recovery against Brooklyn’s Best as a result of such transfers. The fraudulent transfer statutes

  apply to the recipients of the transfers not the transferors. TTT Foods has alleged that Mrs.

  Namm, as an officer and director of Brooklyn’s Best, owed a fiduciary duty to Brooklyn’s Best

  and its creditors, and breached such duty. TTT Foods is not alleging that Brooklyn’s Best owed

  TTT Foods a fiduciary duty.      Nor is TTT Foods seeking recovery against Brooklyn’s Best for

  Mrs. Namm’s breach of fiduciary duty. TTT Foods is seeking to hold Mrs. Namm liable for the

  debts of Brooklyn’s Best to TTT Foods under an alter ego and veil piercing theory. TTT Foods

  is not seeking recovery against Brooklyn’s Best for such debts. As alleged in the Complaint,

  TTT Foods already has obtained final judgments against Brooklyn’s Best. See Compl. ¶¶ 17-20.

           WHEREFORE, Plaintiff, TTT Foods requests that this Court enter an Order:

         i.       Granting the Motion;

       ii.        Striking the Fifteenth Affirmative Defense with prejudice because it contains only
                  bare bones conclusory allegations; and

       iii.       Granting TTT Foods any other additional relief that the Court deems just and
                  appropriate.




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice

  of electronic filing via CM/ECF to Gus R. Benitez, Esquire, counsel for the Defendants, 1223

  East Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, and

  to those other parties registered to receive such service on February 16, 2017.


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                                               By:     /s/ Bernice C. Lee
                                                         John E. Page
                                                         Florida Bar No. 0860581
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                                                         Florida Bar No. 0073535




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